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Rosie’s Place Advice & Referral Clinic Intake Form

Guest retainer agreement: You have signed up for Rosie’s Place’s legal advice and referral clinic; this
-meeting is only a consultation. The clinic is free and all information that is shared during the meeting will be

confidential. The legal advice and referral clinic will do their best to provide advice on your legal questions. If

needed, the clinic will refer you to other pro bono legal services that can further assist you. Staff from Rosie’s

Place advice and referral clinic do not represent you in your legal matter.

 

 

 

 

 

 

Guest signature: Staff signature:

ft Guest Name: Judith LM We [; Date of Intake: 4h
Guest Phone Number: Alternative contact:
Guest Issue:

Channs in 2013 = CNA Since _ZolY — wolked Ayal -~ June

Was Aired & no reasm. Went te MCAD -In Dec- letter
tund no eAdence vf disoriin .

 

Need to file in court pe. May §& 2019.
Federal Coure - | CoueT HOUSE WAY, SuiTE 2309, BoSTON (Seaport Dish ct)
Guest authorizes the Advice & Referral Clinic to provide referrals to: ¥ Need PROSE he lp

 

Next Steps:

Guest is advised to do the following:
Fair Emploument Project IT. 902. 0197
a 1) tell them What happtne A at Your'ob Zz) MCAD k €E0C
Closed the tases 3) trying 40 decide wheter $5 start a_lawsuit
4) heed to ind an. adtorney to helo.
The Advice & Referral Clinic will do the following:

Nothing, moe at this time.

 

(hv \Warddi_f

Guest Signature Rosie’s Place Staff Signature

Staff initials next to this statement indicates that Guest received a copy of this form Pel
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FEOC Form 161 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NoTICE OF RIGHTS

 

To: Judith Mweli From: Boston Area Office
P.O. Box 990855 John F. Kennedy Fed Bidg
Boston, MA 02199 Government Ctr, Room 475

Boston, MA 02203

 

 

["] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.
Amon L. Kinsey, Jr.,
16C-2018-01496 Supervisory Investigator (617) 565-3189
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:

The facis alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.
Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

NH UOOUO

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

LE

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

 

 

OF en ithe yg £2 -
Enclosures(s} Feng K. An, (Date Mailed)

Area Office Director
cc:

CHELSEA JEWISH NURSING HOME
17 Lafayette Avenue
Chelsea, MA 02150
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FACTS ABOUT FILING AN EMPLOYMENT DISCRIMINATION SUIT IN FEDERAL COURT
IN THE STATE OF MASSACHUSETTS

You have received a document which Is the final determination or other final action of the Commission, This ends our handling of
your charge, The Commission's action Is effective upon recelpt. Now, you must decide whether you want to file a private lawsuit In
court. This factsheet answers several commonly asked questions about filing a laweult,

WHERE SHOULD I FILE MY LAWSUIT?

Federal Disirict Courts have strict rules conceming where you may file a suit. You may file a lawsult agalnat the respondent
(employer, unlon, or employment agency) named In your charge, The appropriate court Is the district court which covers either the
county where the respondent Is located or the county where the alleged act of discrimination occurred, A lawsult can be filed at the
following U.S. District Court locations In Massachusetts: a

s The United States District Courts for the District of Massachusetts are located at:

o The John Joseph Moakley U.S. Courthouse, 1 Courthouse Way, Suite 2300, Boston, MA 02210 or by contacting the

Clerk of Court Office at (617) 748-9152
o Oonchue Federal Building & Courthouse, 595 Main Street, Room 502, Worcester, MA 01608 or by contacting the

Clerk of Court Office at (508) 929-9000
o Federal Building & Courthouse, 1550 Main Street, Springfield, MA 01103 or by contacting the Clark of Court Office at

(413) 785-0214
WHEN MUST I FILE MY LAWSUIT?

Your private lawsult must be filed in U.S. District Court within 90 days of the date you recelve the enclosed final action. Once this 90
day period Is over, unless you have filed sult, you. will have lost your right to sua,

DO! NEED ALAWYER?

No, you do not need a lawyer to file a private sult, You may file a complaint In federal court without a lawyer which Is called a prose
complaint. Every district court has either a clerk or staff atornay who can asslst you In fillng pro se. To find out how to file a pro sa
complaint, contact the clerk of the court having jurisdiction over your casa who can advise you of the appropriate person to assist you
and of the procedures to follow, which may vary from district to district.

You may, however, wish to retain a tawyer In order to adequately protect your legal rights. Whether you retain a private attorney, or
fila pro se, you must fila your suit In the appropriate court within 80 days of receiving this mailing,

WHAT IF | WANT A LAWYER BUT CAN'T AFFORD ONE?

if you can't afford a lawyer the U.S. District Court which has Jurisdiction may assist you In obtaining a lawyer. You should consult with
the office of the district court that assists pro se complainants for specific instructions on how to seek counsel.

Generally, tha U.S, District Court charges a $380.00 filing fee to commence a lawsuit. However the court may waive the filing fea if
you cannot afford to pay It, You should ask the offica of the District Court that assists pro se complalnants for information conceming
the necessary procedure to request that the filing fee be walved.

HOW CAN I FIND A LAWYER?

These ara several attomey referral services operated by bar or other attomey organizations which may be of assistance to you In
finding a fawyer to assist you In ascertaining and asserting your legal rights:

American Bar Association (312) 989-5622
The Massachusetts Stale Bar Association (617) 338-0500
National Employment Lawyers Assocation Referral Service (212) 819-9450

Your County, City of Municipal Lawyers or Bar Association may also be of assistance.
HOW LONG WILE THE EEOC RETAIN MY CASE FILE?

Generally, the Commission's rules call for your charge to be destroyed after 2 years from tha date of ano cause determination ar siv
months after other types of final actions, If you file a suit, and wish us to retain vane Bln fe

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Enclosure with EEO

_ Form 164 (11/16) Case 1:19-cv-11041-FDS Document 1-1 Filed 05/02/19 Page 4 of 4
INFORMATION RELATED TO FILING Suit
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
{f you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Titie Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUITRIGHTS—--

in order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a “complaint” that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached fo the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. if you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 tc 12/4/08, you should file suii
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title Vil, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title Vil, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal! rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
